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UNITED STATES DISTRICT COURT                                         ELECTRO NI CALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                       l DOC #: _ _ _ _
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 ELIZABETH MOELLER, individually and on behalf
 of all others similarly situated,

                                Plaintiff,                   Civil Action No. 15-cv-05671-NRB
        v.
 ADV A~CE MAGAZINE PUBLISHERS, INC. d/b/a
 CONDE NAST

                                Defendant.


                         [ ~ I N A L JUDGMENT AND
                        ORDER OF DISMISSAL WITH PREJUDICE

       WHEREAS, a class action is pending before the Court entitled Moeller v. Advance

Magazine Publishers, Inc. d/b/a Conde Nast, No. 1:15-cv-05671-NRB; and

       WHEREAS, Plaintiff Elizabeth Moeller and Defendant Advance Magazine Publishers,

Inc. d/b/a Conde Nast have entered into a Class Action Settlement Agreement, which, together

with the exhibits attached thereto, sets forth the terms and conditions for a proposed settlement

and dismissal of the Action with prejudice as to Defendant upon the terms and conditions set

forth therein (the "Settlement Agreement") (Dkt. 123-1 ); and

       WHEREAS, on October 24, 2018, the Court granted Plaintiffs Motion for Preliminary

Approval of Class Action Settlement, conditionally certifying a Class pursuant to Fed. R. Civ. P.

23(b)(3) of "all Persons with a Michigan street address who subscribed to a Conde Nast

Publication to be delivered to a Michigan street address between July 20, 2009 and July 30,

2016." (Dkt. 130 ,i 9); and

       WHEREAS, the Court has considered the Parties' Class Action Settlement Agreement

(Dkt. 123-1), as well as Plaintiffs Motion for Final Approval of the Settlement Agreement

(Dkt. 137), Plaintiffs Motion for Attorneys' Fees, Costs, Expenses, And Incentive Award
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(Dkt. 132), together with all exhibits thereto, the arguments and authorities presented by the

Parties and their counsel at the Final Approval Hearing held on February 28, 2019, and the

record in the Action, and good cause appearing;

IT IS HEREBY ORDERED, DECREED, AND ADJUDGED AS FOLLOWS:

       1.      Terms and phrases in this Final Judgment shall have the same meaning as

ascribed to them in the Parties' Class Action Settlement Agreement.

       2.      This Court has jurisdiction over the subject matter of the Action and over all

Parties to the Action, including all Settlement Class members.

       3.      The notice provided to the Settlement Class pursuant to the Settlement Agreement

(Dkt. 123-1) and order granting Preliminary Approval (Dkt. 130)- including (i) direct notice to

the Settlement Class via email and U.S. mail, based on the comprehensive Settlement Class List

provided by Defendant, and (ii) the creation of the Settlement Website - fully complied with the

requirements of Fed. R. Civ. P. 23 and due process, and was reasonably calculated under the

circumstances to apprise the Settlement Class of the pendency of the Action, their right to object

to or to exclude themselves from the Settlement Agreement, and their right to appear at the Final

Approval Hearing.

       4.      Four individuals - Linda Freeman, Irene Prosser, Tiffany Ribble, and Johnny

Sherman - have submitted timely requests for exclusion and are therefore excluded from the

Settlement Class.

       5.      The Court finds that Defendant properly and timely notified the appropriate

government officials of the Settlement Agreement, pursuant to the Class Action Fairness Act of

2005 ("CAFA"), 28 U.S.C. § 1715. The Court has reviewed the substance of Defendant's

notice, and finds that it complied with all applicable requirements of CAFA. Further, more than




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ninety (90) days have elapsed since Defendant provided notice pursuant to CAFA and the Final

Approval Hearing.

       6.      This Court now gives final approval to the Settlement Agreement, and finds that

the Settlement Agreement is fair, reasonable, adequate, and in the best interests of the Settlement

Class. The settlement consideration provided under the Settlement Agreement constitutes fair

value given in exchange for the release of the Released Claims against the Released Parties. The

Court finds that the consideration to be paid to members of the Settlement Class is reasonable,

and in the best interests of the Settlement Class Members, considering the total value of their

claims compared to (i) the disputed factual and legal circumstances of the Action, (ii) affirmative

defenses asserted in the Action, and (iii) the potential risks and likelihood of success of pursuing

litigation on the merits. The complex legal and factual posture of this case, the amount of

discovery completed, and the fact that the Settlement is the result of arms' -length negotiations

between the Parties support this finding. The Court finds that these facts, in addition to the

Court's observations throughout the litigation, demonstrate that there was no collusion present in

the reaching of the Settlement Agreement, implicit or otherwise.

       7.      The Court has specifically considered the factors relevant to class action

settlement approval, including:

               (1) the complexity, expense and likely duration of the litigation;
               (2) the reaction of the class to the settlement; (3) the stage of the
               proceedings and the amount of discovery completed; (4) the risks
               of establishing liability; (5) the risks of establishing damages; (6)
               the risks of maintaining the class action through trial; (7) the
               ability of defendants to withstand a greater judgment; (8) the range
               of reasonableness of the settlement fund in light of the best
               possible recovery; and (9) the range of reasonableness of the
               settlement fund to a possible recovery in light of all the attendant
               risks of litigation.

City of Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974); see also Fed. R. Civ. P. 23(e).



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        8.      The Court finds that the Class Representative and Class Counsel adequately

represented the Settlement Class for the purposes of litigating this matter and entering into and

implementing the Settlement Agreement.

        9.     Accordingly, the Settlement is hereby finally approved in all respects.

        10.    The Parties are hereby directed to implement the Settlement Agreement according

to its terms and provisions. The Settlement Agreement is hereby incorporated into this Final

Judgment in full and shall have the full force of an Order of this Court.

        11.    This Court hereby dismisses the Action, as identified in the Settlement

Agreement, on the merits and with prejudice.

        12.    Upon the Effective Date of this Final Judgment, Plaintiff and each and every

Settlement Class Member who did not opt out of the Settlement Class (whether or not such

members submit claims), including such individuals' respective present or past heirs, executors,

estates, administrators, predecessors, successors, assigns, parent companies, subsidiaries,

associates, affiliates, employers, employees, agents, consultants, independent contractors,

insurers, directors, managing directors, officers, partners, principals, members, attorneys,

accountants, financial and other advisors, underwriters, shareholders, lenders, auditors,

investment advisors, legal representatives, successors in interest, assigns and companies, firms,

trusts, and corporations shall be deemed to have released Defendant, as well as any and all of its

respective present or past heirs, executors, estates, administrators, predecessors, successors,

assigns, parent companies, subsidiaries, licensors, licensees, associates, affiliates, employers,

employees, agents, consultants, independent contractors, insurers, directors, managing directors,

officers, partners, principals, members, attorneys, accountants, financial and other advisors,

underwriters, shareholders, lenders, auditors, investment advisors, legal representatives,




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           successors in interest, assigns and companies, firms, trusts, and corporations from any and all

           actual, potential, filed, known or unknown, fixed or contingent, claimed or unclaimed, suspected

           or unsuspected, claims, demands, liabilities, rights, causes of action, contracts or agreements,

           extra-contractual claims, damages, punitive, exemplary or multiplied damages, expenses, costs,

           attorneys' fees and or obligations (including "Unknown Claims," as defined in the Settlement

           Agreement), whether in law or in equity, accrued or unaccrued, direct, individual or

           representative, of every nature and description whatsoever, whether based on the PPP A or other

           federal, state, local, statutory or common law or any other law, rule or regulation, against the

           Released Parties, or any of them, arising out of any facts, transactions, events, matters,

           occurrences, acts, disclosures, statements, representations, omissions or failures to act regarding

           the alleged disclosure of the Settlement Class Members' Michigan Subscriber Information,

           including all claims that were brought or could have been brought in the Action.

                  13.     Upon the Effective Date of this Final Judgment, the above release of claims and

           the Settlement Agreement will be binding on, and will have res judicata and preclusive effect on,

           all pending and future lawsuits or other proceedings maintained by or on behalf of Plaintiff and

           all other Settlement Class Members and Releasing Parties. All Settlement Class Members are

           hereby permanently barred and enjoined from filing, commencing, prosecuting, intervening in,

           or participating (as class members or otherwise) in any lawsuit or other action in any jurisdiction

           based on or arising out of any of the Released Claims.

                  14.     The Court has also considered Plaintiffs Motion For Attorneys' Fees, Costs,

           Expenses, And Incentive Award, as well as the supporting memorandum of law and declarations

           (Dkts. 132-136), and adjudges that the payment of attorneys' fees, costs, and expenses in the
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fi./"Y     amount of $,t,(/ffJ,1J1.79 is reasonable in light of the multi-factor test used to evaluate fee




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awards in the Second Circuit. See Goldberger v. Integrated Resources, Inc., 209 F.3d 43, 50 (2d

Cir. 2000). Such payment shall be made pursuant to and in the manner provided by the terms of

the Settlement Agreement.

        15.     The Court has also considered Plaintiffs Motion, memorandum of law, and

supporting declarations for an incentive award to the Class Representative, Elizabeth Moeller.

See Dkt. 135 at 24-25. The Court adjudges that the payment of an incentive award in the amount

of $10,000 to Ms. Moeller to compensate her for her efforts and commitment on behalf of the

Settlement Class, is fair, reasonable, and justified under the circumstances of this case. Such

payment shall be made pursuant to and in the manner provided by the terms of the Settlement

Agreement.

        16.    All payments made to Settlement Class Members pursuant to the Settlement

Agreement that are not cashed within one hundred and eighty ( 180) days of issuance shall revert

to the Michigan Bar Association's Access to Justice Fund, which the Court approves as an

appropriate cy pres recipient. Except as otherwise set forth in this Order, the Parties shall bear

their own costs and attorneys' fees.

        17.    The Parties, without further approval from the Court, are hereby permitted to

agree and adopt such amendments, modifications, and expansions of the Settlement Agreement

and its implementing documents (including all exhibits to the Settlement Agreement) so long as

they are consistent in all material respects with this Final Judgment and do not limit the rights of

Settlement Class Members.

        18.    Without affecting the finality of this Final Judgment for purposes of appeal, until

the Effective Date the Court shall retain jurisdiction over all matters relating to administration,

consummation, enforcement, and interpretation of the Settlement Agreement.




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       19.     This Court hereby directs entry of this Final Judgment pursuant to Federal Rule of

Civil Procedure 58 based upon the Court's finding that there is no just reason for delay of

enforcement or appeal of this Final Judgment.



IT IS SO ORDERED, this       6'11:,,   dayofL                , 2019.




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